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                              IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF PENNSYLVANIA

HARRY C. NAGEL,

                   Plaintiff,

          v.                                        Civil Action No. 2:15-cv-1669

SIEMENS INDUSTRY,INC ., et al.,

                   Defendants.


                                    REPORT OF NEUTRAL

A Mediation session was held in the above captioned matter on March 8, 2018.

The case (please check one):
             has resolved
             has resolved in part(see below)
         X has not resolved.

The parties request that a follow up conference with the Court should be scheduled within
       days.


If the case has resolved in part, please indicate the part that has resolved and/or the
claim(s)/parties that remain.




Dated: March 21, 2018                          /s/Louis B. Kushner
                                               Signature of Neutral


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